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                                   5                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   9   UNITED STATES OF AMERICA,
                                  10                  Plaintiff,                            No. CR 14-00175 WHA

                                  11           v.

                                  12   PACIFIC GAS AND ELECTRIC                             REQUEST FOR A FINAL REPORT
Northern District of California
 United States District Court




                                       COMPANY,
                                  13
                                                      Defendant.
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                                  16        By NOVEMBER 17, 2021, PG&E is invited to file a statement herein setting forth what

                                  17   progress it has made during its probation and listing the most important ways PG&E still needs

                                  18   to improve concerning public safety. The statement shall cover both gas and electricity. It

                                  19   shall explain the reasons PG&E has started wildfires, what it has done to prevent wildfires of

                                  20   like origins, and what more it plans to do. Please provide parallel explanations on the gas

                                  21   pipeline side. Please limit the statement to fifty double-spaced pages (with any exhibits not to

                                  22   exceed another fifty).

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                                  25   Dated: October 29, 2021.

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                                                                                              WILLIAM ALSUP
                                  28                                                          UNITED STATES DISTRICT JUDGE
